Case 1:14-cv-00374-LO-IDD Document 65 Filed 06/04/18 Page 1 of 1 PageID# 330



                                                                                a
                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF VIRGINIA
                                                                                         DCT
                                         Alexandria Division
                                                                                         JUN ~ 4 2018
                                                                                CLERK, U.s'hfcfnTpr^-:;---J
   WARNER MUSIC GROUP CORP., et al.                                                   AIFJ.;ANDR|A,'v|pI.90t'R7
                                                                                                   IRGirjiA

                           Plaintiffs,                          No. 1:14CV374
                                                                (LO / IDD)
                   V.



   MEGAUPLOAD LIMITED, et al..

                           Defendants.




                        ORDER GRANTING MOTION TO WITHDRAW AS COUNSEL

        The motion of Eric C. Wiener, to withdraw as counsel for Defendants, filed May 31,

  2018, is hereby GRANTED.



  Dated: Y,3^^ I "SS
                                                                    /s/
                                                               Ivan D. Davis
                                                     United States Magistrate Judge
